              Case 16-11312-KCF                    Doc 1        Filed 01/26/16 Entered 01/26/16 15:28:42                               Desc Main
                                                                Document     Page 1 of 69
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                              12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to
distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be
Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Christine                                                       Rafael
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        B                                                               C
     license or passport).         Middle name                                                     Middle name
     Bring your picture
                                   Sheehan                                                         Agliata
     identification to your
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3145                                                     xxx-xx-8593
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                             page 1
              Case 16-11312-KCF                  Doc 1        Filed 01/26/16 Entered 01/26/16 15:28:42                             Desc Main
                                                              Document     Page 2 of 69
Debtor 1   Christine B Sheehan
Debtor 2   Rafael C Agliata                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 44 Martin Lane
                                 Hamilton, NJ 08619-1137
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Mercer
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this                      Over the last 180 days before filing this petition, I
                                        petition, I have lived in this district longer than            have lived in this district longer than in any other
                                        in any other district.                                         district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              Case 16-11312-KCF                  Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42                              Desc Main
                                                                Document     Page 3 of 69
Debtor 1    Christine B Sheehan
Debtor 2    Rafael C Agliata                                                                             Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                         that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                         out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                 When                             Case number
                                              District                                 When                             Case number
                                              District                                 When                             Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                 When                            Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              Case 16-11312-KCF                  Doc 1         Filed 01/26/16 Entered 01/26/16 15:28:42                             Desc Main
                                                               Document     Page 4 of 69
Debtor 1    Christine B Sheehan
Debtor 2    Rafael C Agliata                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
              Case 16-11312-KCF                  Doc 1        Filed 01/26/16 Entered 01/26/16 15:28:42                           Desc Main
                                                              Document     Page 5 of 69
Debtor 1    Christine B Sheehan
Debtor 2    Rafael C Agliata                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                   About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether         You must check one:                                           You must check one:
    you have received a                I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit              counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                        filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                       certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about          Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before          plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check         I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following              counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do         filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a
     so, you are not eligible to       a certificate of completion.                                  certificate of completion.
     file.
                                       Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the           petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     court can dismiss your            payment plan, if any.                                         any.
     case, you will lose
     whatever filing fee you           I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     paid, and your creditors          services from an approved agency, but was                     from an approved agency, but was unable to obtain
     can begin collection              unable to obtain those services during the 7                  those services during the 7 days after I made my
     activities again.                 days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                       circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                       of the requirement.
                                                                                                     To ask for a 30-day temporary waiver of the requirement,
                                       To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                       requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                       what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                       you were unable to obtain it before you filed for             circumstances required you to file this case.
                                       bankruptcy, and what exigent circumstances
                                       required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                     with your reasons for not receiving a briefing before you
                                       Your case may be dismissed if the court is                    filed for bankruptcy.
                                       dissatisfied with your reasons for not receiving a
                                       briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                       If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                       still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                       You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                       agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                       developed, if any. If you do not do so, your case
                                                                                                     Any extension of the 30-day deadline is granted only for
                                       may be dismissed.
                                                                                                     cause and is limited to a maximum of 15 days.
                                       Any extension of the 30-day deadline is granted
                                       only for cause and is limited to a maximum of 15
                                       days.
                                       I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                       credit counseling because of:                                 counseling because of:

                                             Incapacity.      I have a mental illness or a                Incapacity.     I have a mental illness or a mental
                                                              mental deficiency that makes                                deficiency that makes me incapable
                                                              me incapable of realizing or                                of realizing or making rational
                                                              making rational decisions                                   decisions about finances.
                                                              about finances.

                                             Disability.      My physical disability causes               Disability.     My physical disability causes me to
                                                              me to be unable to participate                              be unable to participate in a briefing
                                                              in a briefing in person, by                                 in person, by phone, or through the
                                                              phone, or through the                                       internet, even after I reasonably tried
                                                              internet, even after I                                      to do so.
                                                              reasonably tried to do so.

                                             Active duty.     I am currently on active                    Active duty.    I am currently on active military duty
                                                              military duty in a military                                 in a military combat zone.
                                                              combat zone.
                                       If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                       briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                       motion for waiver of credit counseling with the               of credit counseling with the court.
                                       court.




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                page 5
              Case 16-11312-KCF                 Doc 1       Filed 01/26/16 Entered 01/26/16 15:28:42                                  Desc Main
                                                            Document     Page 6 of 69
Debtor 1    Christine B Sheehan
Debtor 2    Rafael C Agliata                                                                             Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
     after any exempt                      expenses are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                            1,000-5,000                                 25,001-50,000
    you estimate that you                                                           5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion


20. How much do you                 $0 - $50,000                                    $1,000,001 - $10 million                    $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                              $10,000,001 - $50 million                    $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                             $50,000,001 - $100 million                   $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                  More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
                                 1519, and 3571.
                                 /s/ Christine B Sheehan                                          /s/ Rafael C Agliata
                                 Christine B Sheehan                                              Rafael C Agliata
                                 Signature of Debtor 1                                            Signature of Debtor 2

                                 Executed on     January 26, 2016                                 Executed on     January 26, 2016
                                                 MM / DD / YYYY                                                   MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
             Case 16-11312-KCF                    Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                           Desc Main
                                                                  Document     Page 7 of 69
Debtor 1   Christine B Sheehan
Debtor 2   Rafael C Agliata                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. §
If you are not represented by   342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information
an attorney, you do not need    in the schedules filed with the petition is incorrect.
to file this page.
                                /s/ Scott E. Kaplan, Esquire                                       Date         January 26, 2016
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Scott E. Kaplan, Esquire
                                Printed name

                                Law Offices of Scott E. Kaplan, LLC
                                Firm name

                                12 N. Main Street, P.O. Box 157
                                Allentown, NJ 08501
                                Number, Street, City, State & ZIP Code

                                Contact phone     609-259-1112                               Email address         scott@sekaplanlaw.com

                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
              Case 16-11312-KCF                           Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42                                                 Desc Main
                                                                         Document     Page 8 of 69
 Fill in this information to identify your case:

 Debtor 1                  Christine B Sheehan
                           First Name                          Middle Name                          Last Name

 Debtor 2                  Rafael C Agliata
 (Spouse if, filing)       First Name                          Middle Name                          Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             320,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $                7,908.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             327,908.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             559,257.59

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                3,985.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             102,777.71


                                                                                                                                  Your total liabilities $                  666,020.30


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                1,082.50

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,050.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                       page 1 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42                     Desc Main
                                                                     Document     Page 9 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                            Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                              $                      6,000.00


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $               0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            3,985.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $               0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            9,500.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $               0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$               0.00


       9g. Total. Add lines 9a through 9f.                                                           $             13,485.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                  page 2 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
               Case 16-11312-KCF                                Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                     Desc Main
                                                                               Document      Page 10 of 69
 Fill in this information to identify your case and this filing:

 Debtor 1                    Christine B Sheehan
                             First Name                                 Middle Name                     Last Name

 Debtor 2                    Rafael C Agliata
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

 Case number                                                                                                                                                      Check if this is an
                                                                                                                                                                  amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                        12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think
it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1:     Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        44 Martin Lane                                                                 Single-family home                          Do not deduct secured claims or exemptions. Put the
        Street address, if available, or other description                                                                         amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                   Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                   Current value of the       Current value of the
        Trenton                           NJ        08619-0000                         Land                                        entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                                $320,000.00                 $320,000.00
                                                                                       Timeshare
                                                                                                                                   Describe the nature of your ownership interest
                                                                                       Other                                       (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one     a life estate), if known.
                                                                                       Debtor 1 only                               Tenancy by the Entirety
        Mercer                                                                         Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                       At least one of the debtors and another          (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                        $320,000.00
 Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
              Case 16-11312-KCF                       Doc 1            Filed 01/26/16 Entered 01/26/16 15:28:42                                   Desc Main
                                                                      Document      Page 11 of 69
 Debtor 1          Christine B Sheehan
 Debtor 2          Rafael C Agliata                                                                               Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:      Ford                                    Who has an interest in the property? Check one               Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
           Model:     F-150                                          Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
           Year:      1999                                           Debtor 2 only                                         Current value of the      Current value of the
           Approximate mileage:             235,000                  Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Other information:                                        At least one of the debtors and another


                                                                     Check if this is community property                             $1,500.00                  $1,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
  Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                $1,500.00

 Part 3:     Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                  portion you own?
                                                                                                                                                  Do not deduct secured
                                                                                                                                                  claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
        No
        Yes. Describe.....

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....
                                    Used TV's (2); used desktop computer, monitor & printer                                                                        $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
              other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....
                                    2 used acoustic guitars; 3 used electric guitars (Mexican Fenders)                                                             $400.00


10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

Official Form 106A/B                                                       Schedule A/B: Property                                                                     page 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
            Case 16-11312-KCF                                   Doc 1             Filed 01/26/16 Entered 01/26/16 15:28:42                            Desc Main
                                                                                 Document      Page 12 of 69
 Debtor 1        Christine B Sheehan
 Debtor 2        Rafael C Agliata                                                                                            Case number (if known)


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....
                                          Used clothes, shoes, coats & accessories                                                                                   $200.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....
                                          2 wedding bands; 2 pairs of gold earrings; 5 used watches; misc
                                          costume jewelry                                                                                                          $1,000.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....
                                          1 dog                                                                                                                        $10.00


14. Any other personal and household items you did not already list, including any health aids you did not list
       No
       Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                        $1,910.00


 Part 4:   Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                          Current value of the
                                                                                                                                                      portion you own?
                                                                                                                                                      Do not deduct secured
                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       No
       Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                 institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                   Institution name:


                                            17.1.                                             First Choice Bank-joint checkind                                           $5.00



                                            17.2.                                             First Choice Bank-joint checking                                       $300.00



                                            17.3.                                             Chase Bank -checking                                                   $100.00




Official Form 106A/B                                                                   Schedule A/B: Property                                                           page 3
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                           Desc Main
                                                                     Document      Page 13 of 69
 Debtor 1       Christine B Sheehan
 Debtor 2       Rafael C Agliata                                                                               Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
       No
       Yes..................                   Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership,
    and joint venture
     No
        Yes. Give specific information about them...................
                                  Name of entity:                                                               % of ownership:
                                           328 S. Broad Street, LLC                                                   50          %                      $0.00

                                           330 S. Broad Street, LLC                                                  100          %                Unknown

                                           336 S. Broad Street, LLC                                                 100%          %                Unknown

                                           First Choice Bail Bonds, LLC                                              100          %                Unknown

                                           Cornerstone Property Services, LLC                                                     %                  $100.00

                                           Deluxe Entertainment LLC                                                  100          %                  $100.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       No
       Yes. Give specific information about them
                                   Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       No
       Yes. List each account separately.
                               Type of account:                              Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
       No
       Yes. .....................                                            Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
       No
       Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       No
       Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No

Official Form 106A/B                                                   Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
             Case 16-11312-KCF                             Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42                                             Desc Main
                                                                         Document      Page 14 of 69
 Debtor 1        Christine B Sheehan
 Debtor 2        Rafael C Agliata                                                                                                Case number (if known)

        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                                                Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

                                                             2014 Federal Tax Refund taken by State of
                                                                 NJ on or about 10/15/2015                                              Federal                             $3,893.00


29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                       Beneficiary:                               Surrender or refund
                                                                                                                                                                value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................            $4,498.00

 Part 5:   Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 5
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
             Case 16-11312-KCF                               Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                              Desc Main
                                                                            Document      Page 15 of 69
 Debtor 1        Christine B Sheehan
 Debtor 2        Rafael C Agliata                                                                                                     Case number (if known)

 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                                                   Current value of the
                                                                                                                                                                   portion you own?
                                                                                                                                                                   Do not deduct secured
                                                                                                                                                                   claims or exemptions.


 Part 7:   Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                        $0.00

 Part 8:   List the Totals of Each Part of this Form


 55.   Part 1: Total real estate, line 2 ......................................................................................................................            $320,000.00
 56.   Part 2: Total vehicles, line 5                                                                    $1,500.00
 57.   Part 3: Total personal and household items, line 15                                               $1,910.00
 58.   Part 4: Total financial assets, line 36                                                           $4,498.00
 59.   Part 5: Total business-related property, line 45
                                                                                                                     $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                       $0.00
 61. Part 7: Total other property not listed, line 54                                           +                    $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $7,908.00             Copy personal property total                $7,908.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $327,908.00




Official Form 106A/B                                                             Schedule A/B: Property                                                                              page 6
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
              Case 16-11312-KCF                       Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                           Desc Main
                                                                     Document      Page 16 of 69
 Fill in this information to identify your case:

 Debtor 1                Christine B Sheehan
                         First Name                        Middle Name                 Last Name

 Debtor 2                Rafael C Agliata
 (Spouse if, filing)     First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name
and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:         Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on           Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                   portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

      44 Martin Lane Trenton, NJ 08619                               $320,000.00                              $45,950.00      11 USC § 522(d)(1)
      Mercer County
      Line from Schedule A/B: 1.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      Used TV's (2); used desktop                                        $300.00                                  $300.00     11 U.S.C. § 522(d)(3)
      computer, monitor & printer
      Line from Schedule A/B: 7.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      2 used acoustic guitars; 3 used                                    $400.00                                  $400.00     11 U.S.C. § 522(d)(3)
      electric guitars (Mexican Fenders)
      Line from Schedule A/B: 9.1                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit

      Used clothes, shoes, coats &                                       $200.00                                  $200.00     11 U.S.C. § 522(d)(3)
      accessories
      Line from Schedule A/B: 11.1                                                        100% of fair market value, up to
                                                                                          any applicable statutory limit

      2 wedding bands; 2 pairs of gold                                 $1,000.00                                $1,000.00     11 U.S.C. § 522(d)(4)
      earrings; 5 used watches; misc
      costume jewelry                                                                     100% of fair market value, up to
      Line from Schedule A/B: 12.1                                                        any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                      page 1 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                              Desc Main
                                                                     Document      Page 17 of 69
 Debtor 1    Christine B Sheehan
 Debtor 2    Rafael C Agliata                                                                           Case number (if known)

     Brief description of the property and line on            Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                    portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule A/B

     1 dog                                                               $10.00                                     $10.00       11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 13.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     First Choice Bank-joint checkind                                      $5.00                                     $5.00       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.1
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     First Choice Bank-joint checking                                   $300.00                                   $300.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.2
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     Chase Bank -checking                                               $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 17.3
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     Cornerstone Property Services, LLC                                 $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 19.5
                                                                                          100% of fair market value, up to
                                                                                          any applicable statutory limit

     Deluxe Entertainment LLC                                           $100.00                                   $100.00        11 U.S.C. § 522(d)(5)
     100 % ownership
     Line from Schedule A/B: 19.6                                                         100% of fair market value, up to
                                                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $155,675?
    (Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
              Case 16-11312-KCF                       Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                       Desc Main
                                                                     Document      Page 18 of 69
 Fill in this information to identify your case:

 Debtor 1                   Christine B Sheehan
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Rafael C Agliata
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                          Check if this is an
                                                                                                                                                     amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:         List All Secured Claims
                                                                                                               Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately for
 each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much     Amount of claim        Value of collateral     Unsecured
 as possible, list the claims in alphabetical order according to the creditor’s name.                          Do not deduct the      that supports this      portion
                                                                                                               value of collateral.   claim                   If any
 2.1     PNC Bank Na                              Describe the property that secures the claim:                  $247,368.00              $320,000.00          $239,257.59
         Creditor's Name                          44 Martin Lane Trenton, NJ 08619
                                                  Mercer County
                                                  As of the date you file, the claim is: Check all that
         P.O. Box 3180                            apply.
         Pittsburgh, PA 15230                         Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
     Check if this claim relates to a                 Other (including a right to offset)   Second Mortgage
     community debt

                                 OPEN
                                 ACCOUNT
                                 OPENED
 Date debt was incurred          5/2007                    Last 4 digits of account number         1173


 2.2     Wells Fargo Hm Mortgag                   Describe the property that secures the claim:                  $311,889.59              $320,000.00                    $0.00
         Creditor's Name                          44 Martin Lane Trenton, NJ 08619
                                                  Mercer County
                                                  As of the date you file, the claim is: Check all that
         8480 Stagecoach Cir                      apply.
         Frederick, MD 21701                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                         page 1 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                  Desc Main
                                                                     Document      Page 19 of 69
 Debtor 1 Christine B Sheehan                                                                            Case number (if know)
             First Name                 Middle Name                       Last Name
 Debtor 2 Rafael C Agliata
             First Name                 Middle Name                       Last Name


    Check if this claim relates to a                  Other (including a right to offset)     First Mortgage
    community debt

                              MORTGAG
                              E
                              ACCOUNT
                              OPENED
 Date debt was incurred       12/2003                     Last 4 digits of account number         8211



   Add the dollar value of your entries in Column A on this page. Write that number here:                             $559,257.59
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                            $559,257.59

 Part 2: List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.
        Name Address
        Phelan Hallinan Diamond & Jones, P.C.                                               On which line in Part 1 did you enter the creditor?
                                                                                                                                                            2.2
        400 Fellowship Road, Ste 100
        Mt. Laurel, NJ                                                                      Last 4 digits of account number              8054




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                 page 2 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
               Case 16-11312-KCF                        Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                      Document      Page 20 of 69
 Fill in this information to identify your case:

 Debtor 1                     Christine B Sheehan
                              First Name                     Middle Name                       Last Name

 Debtor 2                     Rafael C Agliata
 (Spouse if, filing)          First Name                     Middle Name                       Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your name and case
number (if known).
 Part 1:         List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of Part
       1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                            Total claim       Priority            Nonpriority
                                                                                                                                              amount              amount
 2.1          Division Of Taxation                                   Last 4 digits of account number       5713                   $3,985.00         $3,985.00                   $0.00
              Priority Creditor's Name
              PO Box 190                                             When was the debt incurred?
              Trenton, NJ 08646
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        TAXLIENSTATE ACCOUNT OPENED 1/24/2013

 Part 2:         List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority unsecured
       claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more than one
       creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of Part 2.
                                                                                                                                                            Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 1 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                  52056                                          Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 21 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.1      43 Bushler, LLC                                            Last 4 digits of account number       3805                                                        $0.00
          Nonpriority Creditor's Name
          428 Clifton Ave #96                                        When was the debt incurred?
          Lakewood, NJ 08701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         330 S. Broad Street, LLC
              Yes                                                       Other. Specify   100 % ownership

 4.2      43 Bushler, LLC                                            Last 4 digits of account number       6279                                                        $0.00
          Nonpriority Creditor's Name
          428 Clifton Ave #96                                        When was the debt incurred?
          Lakewood, NJ 08701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         328 S. Broad Street, LLC
              Yes                                                       Other. Specify   50 % ownership


 4.3      43 Bushler, LLC                                            Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          428 Clifton Ave #96                                        When was the debt incurred?
          Lakewood, NJ 08701
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         336 S. Broad Street, LLC
              Yes                                                       Other. Specify   100%




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 22 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.4      American Surety                                            Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          250 East 96th Street, suite 202                            When was the debt incurred?
          Indianapolis, IN 46240
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.5      Bankers Surety                                             Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 33015                                               When was the debt incurred?
          Saint Petersburg, FL 33733
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.6      Bartolomei Pucciarelli, LLC                                Last 4 digits of account number                                                             $9,443.00
          Nonpriority Creditor's Name
          2564 Brunswick Pike                                        When was the debt incurred?
          Lawrenceville, NJ 08648
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 3 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 23 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.7      Bartolomei Pucciarelli, LLC                                Last 4 digits of account number                                                               $895.00
          Nonpriority Creditor's Name
          2564 Brunswick Pike                                        When was the debt incurred?
          Lawrenceville, NJ 08648
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Accounting services


 4.8      Better Deal Bail Bonds                                     Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          1205 E. Grand Street                                       When was the debt incurred?
          Elizabeth, NJ 07201
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.9      Citicards                                                  Last 4 digits of account number       2540                                                $29,734.00
          Nonpriority Creditor's Name
          Po Box 6241                                                When was the debt incurred?
          Sioux Falls, SD 57117
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   REVOLVING ACCOUNT OPENED 10/1995




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 4 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 24 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.10     Cutting Edge Bail Bonds                                    Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          1403 N. Washington Ave                                     When was the debt incurred?
          Scranton, PA 18509
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.11     Discover Fin Svcs Llc                                      Last 4 digits of account number       2811                                                  $9,996.00
          Nonpriority Creditor's Name
          Po Box 15316                                               When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         REVOLVING ACCOUNT OPENED 7/2007;
                                                                                         Lawsuit under Dck No. DC-150-14, Mercer
              Yes                                                       Other. Specify   County Special Civil Part


 4.12     Eastern Region/Collegiate                                  Last 4 digits of account number       4510                                                  $3,136.00
          Nonpriority Creditor's Name
          National Credit System                                     When was the debt incurred?
          3750 Naturally Fresh Blv
          Atlanta, GA 30349
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   OPEN ACCOUNT OPENED 4/2014




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 5 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 25 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.13     Fed Loan Serv                                              Last 4 digits of account number       0002                                                  $6,000.00
          Nonpriority Creditor's Name
          Pob 60610                                                  When was the debt incurred?
          Harrisburg, PA 17106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         INSTALLMENT ACCOUNT OPENED 11/2013
 4.14     Fed Loan Serv                                              Last 4 digits of account number       0001                                                  $3,500.00
          Nonpriority Creditor's Name
          Pob 60610                                                  When was the debt incurred?
          Harrisburg, PA 17106
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         INSTALLMENT ACCOUNT OPENED 11/2013
 4.15     Financial Casualty And Surety                              Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          3131 Eastside #600                                         When was the debt incurred?
          Houston, TX 77098
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 6 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 26 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.16     First Data                                                 Last 4 digits of account number       5000                                                    $599.00
          Nonpriority Creditor's Name
          265 Broad Hollow R                                         When was the debt incurred?
          Melville, NY 11747
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   INSTALLMENT ACCOUNT OPENED 3/2012


 4.17     Gary Williams                                              Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          Williams National Surety Corp                              When was the debt incurred?
          823 W. 4th Street
          Davenport, IA 52802
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.18     JPMorgan Chase Bank,N.A.                                   Last 4 digits of account number       1209                                                $13,162.12
          Nonpriority Creditor's Name
          P.O. Box 29505                                             When was the debt incurred?
          Phoenix, AZ 85038-9505
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Balance due from car repossession on
              Yes                                                       Other. Specify   2/12/2014




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 7 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 27 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.19     NJ Division Of Taxation                                    Last 4 digits of account number       9814                                                  $4,373.21
          Nonpriority Creditor's Name
          PO Box 190                                                 When was the debt incurred?
          Trenton, NJ 08646
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   9/11/2014 judgment


 4.20     NJ Division Of Taxation                                    Last 4 digits of account number       8914                                                $13,946.58
          Nonpriority Creditor's Name
          PO Box 190                                                 When was the debt incurred?
          Trenton, NJ 08646
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   9/28/2014 judgment


 4.21     Optimum                                                    Last 4 digits of account number       8386                                                    $462.34
          Nonpriority Creditor's Name
          C/O Sunrise Credit Services, Inc                           When was the debt incurred?
          P.O. Box 9100
          Farmingdale, NY 11735-9100
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 8 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 28 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.22     Raymore & Flanigan                                         Last 4 digits of account number       7171                                                  $3,153.00
          Nonpriority Creditor's Name
          7248 Morgan Rd                                             When was the debt incurred?
          Liverpool, NY 13088
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   REVOLVING ACCOUNT OPENED 8/2011


          RWJ Hamilton Ctr For Health &
 4.23     Wellness                                                   Last 4 digits of account number       5912                                                    $252.81
          Nonpriority Creditor's Name
          3100 Quakerbridge Rd                                       When was the debt incurred?           2014
          Trenton, NJ 08619
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.24     Safety National Casualty Corp                              Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          1832 Schuetz Road                                          When was the debt incurred?
          St. Louis, MO 63146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Insurance guaranty




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 9 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 29 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

          Safety National Casualty
 4.25     Corporation                                                Last 4 digits of account number                                                                   $0.00
          Nonpriority Creditor's Name
          1832 Scheutz Rd                                            When was the debt incurred?
          Saint Louis, MO 63146
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.26     Santander Bank                                             Last 4 digits of account number       5650                                                    $724.15
          Nonpriority Creditor's Name
          C/O F.H. Cann & Associates, Inc                            When was the debt incurred?
          1600 Osgood St, Ste 20-2/120
          North Andover, MA 01845
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.27     Toyota Financial Services                                  Last 4 digits of account number       P179                                                  $3,147.69
          Nonpriority Creditor's Name
          P.O. Box 9490                                              When was the debt incurred?
          Cedar Rapids, IA 52409-9490
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   7/14/2014 Lease return




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 10 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 30 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                Case number (if know)

 4.28      Transworld Systems Inc                                    Last 4 digits of account number       5601                                                       $252.81
           Nonpriority Creditor's Name
           507 Prudential Road                                       When was the debt incurred?
           Horsham, PA 19044
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Claim of R W J Hamilton Ctr for Health &
              Yes                                                       Other. Specify   Wellness

 4.29      United Surety Group                                       Last 4 digits of account number                                                                      $0.00
           Nonpriority Creditor's Name
           16 Court Street                                           When was the debt incurred?
           Freehold, NJ 07728
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.30      Williams National Surety Corp.                            Last 4 digits of account number                                                                      $0.00
           Nonpriority Creditor's Name
           823 W. 4th Street                                         When was the debt incurred?
           Davenport, IA 52802
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                   Student loans
              Check if this claim is for a community debt               Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency is
   trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you have
   more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be notified for
   any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
 ARS National Services, Inc                                   Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 463023                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Escondido, CA 92046-3023

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 11 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                     Document      Page 31 of 69
 Debtor 1 Christine B Sheehan
 Debtor 2 Rafael C Agliata                                                                                 Case number (if know)

                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 F.H. Cann & Assoc, Inc                                         Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1600 Osgood St, Ste 20-2/120                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 North Andover, MA 01845
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Forster Garbus & Garbus                                        Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7 Banta Place                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Hackensack, NJ 07601
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 National Credit Systms, Inc                                    Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P.O. Box 312125                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 31131-2125
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 SRA Associates, Inc                                            Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 401 Minnetonka Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Hi Nella, NJ 08083
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Transworld Systems Inc                                         Line 4.23 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 507 Prudential Road                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Horsham, PA 19044
                                                                Last 4 digits of account number

 Name and Address                                               On which entry in Part 1 or Part 2 did you list the original creditor?
 Wong Fleming                                                   Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 2000 RiverEdge Parkway, Ste 500                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30328
                                                                Last 4 digits of account number

 Part 4:     Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each type
   of unsecured claim.

                                                                                                                           Total claim
                        6a.   Domestic support obligations                                                   6a.       $                            0.00
 Total claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                           6b.       $                      3,985.00
                        6c.   Claims for death or personal injury while you were intoxicated                 6c.       $                          0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.        6d.       $                          0.00

                        6e.   Total. Add lines 6a through 6d.                                                6e.       $                      3,985.00

                                                                                                                      Total Claim
                        6f.   Student loans                                                                  6f.       $                      9,500.00
 Total claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that you
                              did not report as priority claims                                              6g.       $                         0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts              6h.       $                         0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount here. 6i.           $                    93,277.71

                        6j.   Total. Add lines 6f through 6i.                                                6j.       $                  102,777.71




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 12 of 12
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
               Case 16-11312-KCF                        Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42                        Desc Main
                                                                      Document      Page 32 of 69
 Fill in this information to identify your case:

 Debtor 1                  Christine B Sheehan
                           First Name                         Middle Name              Last Name

 Debtor 2                  Rafael C Agliata
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


        Person or company with whom you have the contract or lease                       State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
              Case 16-11312-KCF                           Doc 1          Filed 01/26/16 Entered 01/26/16 15:28:42              Desc Main
                                                                        Document      Page 33 of 69
 Fill in this information to identify your case:

 Debtor 1                   Christine B Sheehan
                            First Name                           Middle Name         Last Name

 Debtor 2                   Rafael C Agliata
 (Spouse if, filing)        First Name                           Middle Name         Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to
      fill out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:


    3.1         328 S. Broad Street, LLC                                                               Schedule D, line
                                                                                                       Schedule E/F, line    4.2
                                                                                                      Schedule G
                                                                                                    43 Bushler, LLC



    3.2         328 South Broad Street, LLC                                                           Schedule D, line
                44 Martin Lane                                                                        Schedule E/F, line    4.7
                Hamilton, NJ 08619
                                                                                                      Schedule G
                                                                                                    Bartolomei Pucciarelli, LLC



    3.3         330 S. Broad Street, LLC                                                               Schedule D, line
                                                                                                       Schedule E/F, line    4.1
                                                                                                      Schedule G
                                                                                                    43 Bushler, LLC




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42               Desc Main
                                                                     Document      Page 34 of 69
             Christine B Sheehan
 Debtor 1 Rafael C Agliata                                                                   Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                                                                                                   Check all schedules that apply:
    3.4      336 S. Broad Street, LLC                                                                Schedule D, line
                                                                                                     Schedule E/F, line    4.3
                                                                                                    Schedule G
                                                                                                  43 Bushler, LLC



    3.5      Antonio Agliata                                                                        Schedule D, line
             330 South Broad Street, Apt 3                                                          Schedule E/F, line  4.12
             Trenton, NJ 08608
                                                                                                    Schedule G
                                                                                                  Eastern Region/Collegiate



    3.6      Eric Valentin                                                                          Schedule D, line
             426 State Street                                                                       Schedule E/F, line   4.24
             Perth Amboy, NJ 08861
                                                                                                    Schedule G
                                                                                                  Safety National Casualty Corp



    3.7      Eric Valentin                                                                          Schedule D, line
             426 State Street                                                                       Schedule E/F, line     4.17
             Perth Amboy, NJ 08861
                                                                                                    Schedule G
                                                                                                  Gary Williams




Official Form 106H                                                            Schedule H: Your Codebtors                                 Page 2 of 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
             Case 16-11312-KCF                    Doc 1    Filed 01/26/16 Entered 01/26/16 15:28:42                              Desc Main
                                                          Document      Page 35 of 69


Fill in this information to identify your case:

Debtor 1                      Christine B Sheehan

Debtor 2                      Rafael C Agliata
(Spouse, if filing)


United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number                                                                                              Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Beautician
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Guys & Dolls Hair Salon

       Occupation may include student        Employer's address
                                                                   168 Whitehorse Ave
       or homemaker, if it applies.
                                                                   Trenton, NJ 08610

                                             How long employed there?         12 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1      For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.      $        1,082.50     $             0.00

3.     Estimate and list monthly overtime pay.                                             3.     +$            0.00     +$            0.00

4.     Calculate gross Income. Add line 2 + line 3.                                        4.      $      1,082.50           $       0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
            Case 16-11312-KCF               Doc 1       Filed 01/26/16 Entered 01/26/16 15:28:42                              Desc Main
                                                       Document      Page 36 of 69

Debtor 1    Christine B Sheehan
Debtor 2    Rafael C Agliata                                                                    Case number (if known)



                                                                                                 For Debtor 1            For Debtor 2 or
                                                                                                                         non-filing spouse
      Copy line 4 here                                                                  4.       $         1,082.50      $             0.00

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                              5a.      $              0.00     $               0.00
      5b.    Mandatory contributions for retirement plans                               5b.      $              0.00     $               0.00
      5c.    Voluntary contributions for retirement plans                               5c.      $              0.00     $               0.00
      5d.    Required repayments of retirement fund loans                               5d.      $              0.00     $               0.00
      5e.    Insurance                                                                  5e.      $              0.00     $               0.00
      5f.    Domestic support obligations                                               5f.      $              0.00     $               0.00
      5g.    Union dues                                                                 5g.      $              0.00     $               0.00
      5h.    Other deductions. Specify:                                                 5h.+     $              0.00 +   $               0.00
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                    6.      $               0.00     $               0.00
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.               7.      $          1,082.50      $               0.00
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                        8a.      $              0.00     $               0.00
      8b. Interest and dividends                                                        8b.      $              0.00     $               0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                       8c.      $              0.00     $               0.00
      8d. Unemployment compensation                                                     8d.      $              0.00     $               0.00
      8e. Social Security                                                               8e.      $              0.00     $               0.00
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash
             assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                   8f.  $                  0.00   $                 0.00
      8g. Pension or retirement income                                                  8g. $                   0.00   $                 0.00
      8h. Other monthly income. Specify:                                                8h.+ $                  0.00 + $                 0.00

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                          9.      $               0.00     $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $          1,082.50 + $             0.00 = $           1,082.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                    12.   $           1,082.50
                                                                                                                                     Combined
                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                     page 2
         Case 16-11312-KCF                       Doc 1       Filed 01/26/16 Entered 01/26/16 15:28:42                                 Desc Main
                                                            Document      Page 37 of 69


Fill in this information to identify your case:

Debtor 1                 Christine B Sheehan                                                                Check if this is:
                                                                                                                An amended filing
Debtor 2                 Rafael C Agliata                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      and Debtor 2.                                each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  10                   Yes
                                                                                                                                             No
                                                                                   Daughter                             11                   Yes
                                                                                                                                             No
                                                                                   Daughter                             13                   Yes
                                                                                                                                             No
                                                                                   Son                                  20                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,022.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.   $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.   $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.   $                            200.00
      4d. Homeowner’s association or condominium dues                                                      4d.   $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.   $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
        Case 16-11312-KCF                       Doc 1        Filed 01/26/16 Entered 01/26/16 15:28:42                                        Desc Main
                                                            Document      Page 38 of 69

Debtor 1     Christine B Sheehan
Debtor 2     Rafael C Agliata                                                                           Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                   400.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                   100.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                   611.00
      6d. Other. Specify:                                                                   6d. $                                                     0.00
7.    Food and housekeeping supplies                                                          7. $                                                  867.00
8.    Childcare and children’s education costs                                                8. $                                                  100.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                  200.00
10.   Personal care products and services                                                   10. $                                                   100.00
11.   Medical and dental expenses                                                           11. $                                                     0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                   100.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                   150.00
14.   Charitable contributions and religious donations                                      14. $                                                     0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                     0.00
      15b. Health insurance                                                                15b. $                                                     0.00
      15c. Vehicle insurance                                                               15c. $                                                   200.00
      15d. Other insurance. Specify:                                                       15d. $                                                     0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                              16. $                                                       0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                       0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                       0.00
      17c. Other. Specify:                                                                 17c. $                                                       0.00
      17d. Other. Specify:                                                                 17d. $                                                       0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                       0.00
      20b. Real estate taxes                                                               20b. $                                                       0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                       0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                       0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                       0.00
21.   Other: Specify:                                                                       21. +$                                                      0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       5,050.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       5,050.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               1,082.50
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              5,050.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                              -3,967.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case 16-11312-KCF                       Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                      Desc Main
                                                                     Document      Page 39 of 69




 Fill in this information to identify your case:

 Debtor 1                    Christine B Sheehan
                             First Name                    Middle Name             Last Name

 Debtor 2                    Rafael C Agliata
 (Spouse if, filing)         First Name                    Middle Name             Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                         Check if this is an
                                                                                                                                    amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                     12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer’s Notice, Declaration,
                                                                                               and Signature (Official Form 119).


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Christine B Sheehan                                                  X   /s/ Rafael C Agliata
              Christine B Sheehan                                                      Rafael C Agliata
              Signature of Debtor 1                                                    Signature of Debtor 2

              Date       January 26, 2016                                              Date    January 26, 2016




Official Form 106Dec                                      Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
              Case 16-11312-KCF                       Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                Desc Main
                                                                     Document      Page 40 of 69


 Fill in this information to identify your case:

 Debtor 1                  Christine B Sheehan
                           First Name                      Middle Name                   Last Name

 Debtor 2                  Rafael C Agliata
 (Spouse if, filing)       First Name                      Middle Name                   Last Name


 United States Bankruptcy Court for the:             DISTRICT OF NEW JERSEY

 Case number
 (if known)                                                                                                                                   Check if this is an
                                                                                                                                              amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:         Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2          Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income              Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.          (before deductions
                                                                                    exclusions)                                                   and exclusions)

 From January 1 of current year until                 Wages, commissions,                            $417.00          Wages, commissions,                  $3,562.50
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                      Operating a business                                             Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 1

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                Desc Main
                                                                     Document      Page 41 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                              Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

                                                      Wages, commissions,                         $3,500.00           Wages, commissions,              $29,000.00
                                                   bonuses, tips                                                   bonuses, tips

                                                      Operating a business                                             Operating a business

 For last calendar year:                              Wages, commissions,                       $15,000.00            Wages, commissions,              $57,000.00
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                      Operating a business                                             Operating a business

 For the calendar year before that:                   Wages, commissions,                              $0.00          Wages, commissions,                       $0.00
 (January 1 to December 31, 2014 )                 bonuses, tips                                                   bonuses, tips
                                                      Operating a business                                             Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
      unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
      gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Describe below..                 (before deductions and         Describe below.               (before deductions
                                                                                    exclusions)                                                  and exclusions)

 Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,225* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,225* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/16 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                                   an attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you        Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                               Desc Main
                                                                     Document      Page 42 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                              Case number (if known)


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent,
      including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child
      support and alimony.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Safety National Casualty Corp and                        Civil Action                NJ Sup Court, Mercer                        Pending
       Gary Williams vs. Rafael Agliata                                                     County Law Div                              On appeal
       MER-L-2257-15                                                                        175 S. Broad Street
                                                                                                                                        Concluded
                                                                                            Trenton, NJ 08650-0068

       Wells Fargo Bank, N.A. v. Christine                      foreclosure                 NJ Sup Court, Mercer                        Pending
       B. Sheehan, et ux, et als,                                                           County Chancery Div                         On appeal
       F-032418-13                                                                                                                      Concluded

                                                                                                                                     Default judgment obtained

       Discover Bank v. Rafael C. Agliata                       collection action           NJ Sup Court, Mercer Cty                    Pending
       DC-000150-14                                                                         Special Civil                               On appeal
                                                                                            175 S. Broad Street                         Concluded
                                                                                            Trenton, NJ 08650
                                                                                                                                     Unknown


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                               Desc Main
                                                                     Document      Page 43 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                              Case number (if known)


       Creditor Name and Address                                Describe the Property                                         Date                   Value of the
                                                                                                                                                        property
                                                                Explain what happened
       NJ Div of Taxation                                                                                                     10/15/2015               $3,859.00

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
        No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was             Amount
                                                                                                                              taken
       NJ Division of Taxation                                  On or about 10/15/2015, State of NJ Div of                    On or about              $3,859.00
       P.O. Box 285                                             Taxation seized debtors' 2014 Federal Tax                     10/15/2015
       Trenton, NJ 08695-0285                                   Refund of $3,859.00 and applied said
                                                                amount towards outstanding NJ income
                                                                taxes.
                                                                Last 4 digits of account number: 8593


12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
    disaster, or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                  Describe any insurance coverage for the loss                       Date of your      Value of property
       how the loss occurred                               Include the amount that insurance has paid. List                   loss                           lost
                                                           pending insurance claims on line 33 of Schedule A/B:
                                                           Property.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                  Desc Main
                                                                     Document      Page 44 of 69
 Debtor 1      Christine B Sheehan
 Debtor 2      Rafael C Agliata                                                                             Case number (if known)


 Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Scott E. Kaplan, Esquire                                                                                                                           $2,000.00
       12 N. Main Street, P.O. Box 157
       Allentown, NJ 08501
       scott@sekaplanlaw.com


       www.dollarbk.org                                                                                                                                       $14.95



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of           Type of account or           Date account was               Last balance
       Address (Number, Street, City, State and ZIP             account number             instrument                   closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                  Desc Main
                                                                     Document      Page 45 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                                   Case number (if known)


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                have it?
                                                                      State and ZIP Code)

       First Choice Bank                                              Only debtors                               Deed & Wills                          No
       Route 33                                                                                                                                        Yes
       Robbinsville, NJ


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access                 Describe the contents              Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                        have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                          Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)


 Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you       Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                             Desc Main
                                                                     Document      Page 46 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                              Case number (if known)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                       Nature of the case                   Status of the
       Case Number                                                    Name                                                                       case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)


 Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business              Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Cornerstone Property Services,                           Property maintenance services                    EIN:         XX-XXXXXXX
       LLC
       44 Martin Lane                                           Joseph Hodakowski, CPA                           From-To 11/12/2015 to present
       Trenton, NJ 08619

       Deluxe Entertainment LLC                                 Music entertainment                              EIN:
       44 Martin Lane
       Trenton, NJ 08619                                        Joseph Hodakowski, CPA                           From-To 2010 to 2015


       328 S Broad Street, LLC                                  Real estate ownership & rental                   EIN:
       44 Martin Lane
       Trenton, NJ 08619                                        Joseph Hodakowski, CPA                           From-To 2011 to present


       330 S. Broad Street, LLC                                 Real estate ownership & rental                   EIN:
       44 Martin Lane
       Trenton, NJ 08619                                        Joseph Hodakowski, CPA                           From-To 2005 to present


       336 S. Broad Street LLC                                  Real estate ownership & rental                   EIN:
       44 Martin Lane
       Trenton, NJ 08619                                        Joseph Hodakowski, CPA                           From-To 2005 to present


       First Choice Bail Bonds, LLC                             Sale of bail bonds                               EIN:
       44 Martin LAne
       Trenton, NJ 08619                                        Joseph Hodakowski, CPA                           From-To 2011 to 2015


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                     Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                       Desc Main
                                                                     Document      Page 47 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                              Case number (if known)


 Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Christine B Sheehan                                                /s/ Rafael C Agliata
 Christine B Sheehan                                                    Rafael C Agliata
 Signature of Debtor 1                                                  Signature of Debtor 2

 Date     January 26, 2016                                              Date      January 26, 2016

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 8

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
              Case 16-11312-KCF                       Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                    Desc Main
                                                                     Document      Page 48 of 69

 Fill in this information to identify your case:                                                                Check as directed in lines 17 and 21:

 Debtor 1              Christine B Sheehan                                                                         According to the calculations required by this
                                                                                                                   Statement:
 Debtor 2              Rafael C Agliata                                                                                  1. Disposable income is not determined under
 (Spouse, if filing)                                                                                                        11 U.S.C. § 1325(b)(3).
 United States Bankruptcy Court for the:            District of New Jersey                                               2. Disposable income is determined under 11
                                                                                                                            U.S.C. § 1325(b)(3).
 Case number
 (if known)
                                                                                                                         3. The commitment period is 3 years.

                                                                                                                         4. The commitment period is 5 years.

                                                                                                                       Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

 Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married. Fill out both Columns A and B, lines 2-11.


    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during the
    6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both spouses own
    the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                          Column A                   Column B
                                                                                                          Debtor 1                   Debtor 2 or
                                                                                                                                     non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before
     all payroll deductions).                                                                             $               0.00       $               0.00
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                               $               0.00       $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                 0.00       $               0.00
  5. Net income from operating a
     business, profession, or farm                 Debtor 1                 Debtor 2
        Gross receipts (before all
        deductions)                           $            4,750.00 $              1,250.00
        Ordinary and necessary
        operating expenses                    -$                 0.00 -$                0.00
        Net monthly income from a                                                               Copy
        business, profession, or farm         $            4,750.00 $              1,250.00 here -> $               4,750.00         $         1,250.00
  6. Net income from rental and other real property                     Debtor 1
        Gross receipts (before all deductions)                            $      0.00
        Ordinary and necessary operating expenses                          -$    0.00
        Net monthly income from rental or other real property              $     0.00 Copy here -> $                      0.00       $               0.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                             page 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                   Desc Main
                                                                     Document      Page 49 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                               Case number (if known)



                                                                                                         Column A                      Column B
                                                                                                         Debtor 1                      Debtor 2 or
                                                                                                                                       non-filing spouse
                                                                                                         $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                           $                  0.00       $           0.00
       Do not enter the amount if you contend that the amount received was a benefit
       under the Social Security Act. Instead, list it here:
         For you                                             $                 0.00
            For your spouse                                            $                    0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act.                                                              $                  0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
                                                                                                         $                  0.00       $           0.00
                                                                                                         $                  0.00       $           0.00
                  Total amounts from separate pages, if any.                                           + $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.                    $      4,750.00           +$         1,250.00    =$        6,000.00

                                                                                                                                                        Total average
                                                                                                                                                        monthly income
 Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                         $        6,000.00
  13. Calculate the marital adjustment. Check one:
              You are not married. Fill in 0 below.
              You are married and your spouse is filing with you. Fill in 0 below.
              You are married and your spouse is not filing with you.
              Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
              dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
              Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
              adjustments on a separate page.
              If this adjustment does not apply, enter 0 below.
                                                                                                   $
                                                                                                   $
                                                                                                +$

                     Total                                                                       $                  0.00         Copy here=>        -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                                  $        6,000.00

  15. Calculate your current monthly income for the year. Follow these steps:
        15a. Copy line 14 here=>                                                                                                                   $        6,000.00

                Multiply line 15a by 12 (the number of months in a year).                                                                               x 12

        15b. The result is your current monthly income for the year for this part of the form. ...........................................         $       72,000.00




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                           page 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                    Desc Main
                                                                     Document      Page 50 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                   Case number (if known)




  16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                             IL

       16b. Fill in the number of people in your household.                   1
       16c. Fill in the median family income for your state and size of household.                                                       $     49,682.00
            To find a list of applicable median income amounts, go online using the link specified in the separate
            instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
       17a.           Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                      11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

       17b.           Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                      1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form,
                      copy your current monthly income from line 14 above.
 Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

 18. Copy your total average monthly income from line 11 .                                                                      $                   6,000.00
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
     contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
     spouse's income, copy the amount from line 13.
     19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                      -$                      0.00


       19b. Subtract line 19a from line 18.                                                                                          $          6,000.00


 20. Calculate your current monthly income for the year. Follow these steps:
       20a. Copy line 19b                                                                                                                $      6,000.00

              Multiply by 12 (the number of months in a year).                                                                               x 12

       20b. The result is your current monthly income for the year for this part of the form                                             $     72,000.00




       20c. Copy the median family income for your state and size of household from line 16c                                             $     49,682.00


       21. How do the lines compare?

                   Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                   period is 3 years. Go to Part 4.

                   Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                   commitment period is 5 years. Go to Part 4.

 Part 4:       Sign Below
       By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

    X /s/ Christine B Sheehan                                                      X /s/ Rafael C Agliata
        Christine B Sheehan                                                          Rafael C Agliata
        Signature of Debtor 1                                                        Signature of Debtor 2
       Date January 26, 2016                                                         Date January 26, 2016
            MM / DD / YYYY                                                                MM / DD / YYYY
       If you checked 17a, do NOT fill out or file Form 122C-2.
       If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1           Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                               page 3
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                     Desc Main
                                                                     Document      Page 51 of 69

 Fill in this information to identify your case:

 Debtor 1            Christine B Sheehan

 Debtor 2          Rafael C Agliata
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey

 Case number
 (if known)                                                                                                    Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                      12/15

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

 Part 1:       Calculate Your Deductions from Your Income

    The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
    the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
    information may also be available at the bankruptcy clerk’s office.

    Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
    expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
    122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

    If your expenses differ from month to month, enter the average expense.

    Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

    5.     The number of people used in determining your deductions from income

           Fill in the number of people who could be claimed as exemptions on your federal income tax return,
           plus the number of any additional dependents whom you support. This number may be different from                    1
           the number of people in your household.



    National Standards                   You must use the IRS National Standards to answer the questions in lines 6-7.



    6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
           Standards, fill in the dollar amount for food, clothing, and other items.                                               $            585.00


    7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
           the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
           people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
           higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 22C-2                                        Chapter 13 Calculation of Your Disposable Income                                      page 1
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                Desc Main
                                                                     Document      Page 52 of 69
 Debtor 1         Christine B Sheehan
 Debtor 2         Rafael C Agliata                                                                  Case number (if known)



    People who are under 65 years of age
            7a. Out-of-pocket health care allowance per person             $             60
            7b. Number of people who are under 65                          X         1
            7c. Subtotal. Multiply line 7a by line 7b.                     $        60.00            Copy here=>        $             60.00

    People who are 65 years of age or older

            7d. Out-of-pocket health care allowance per person             $          144
            7e. Number of people who are 65 or older                       X         0
            7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00

            7g. Total. Add line 7c and line 7f                                                $     60.00                    Copy total here=> $          60.00


    Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
    Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
    bankruptcy purposes into two parts:
         Housing and utilities - Insurance and operating expenses
         Housing and utilities - Mortgage or rent expenses
    To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
    separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
    8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5,
        fill in the dollar amount listed for your county for insurance and operating expenses.                         $               485.00
    9.      Housing and utilities - Mortgage or rent expenses:
            9a. Using the number of people you entered in line 5, fill in the dollar amount
                listed for your county for mortgage or rent expenses.                                                   $        1,339.00

            9b. Total average monthly payment for all mortgages and other debts secured by your home.
                   To calculate the total average monthly payment, add all amounts that are
                   contractually due to each secured creditor in the 60 months after you file
                   for bankruptcy. Next divide by 60.

                   Name of the creditor                                        Average monthly
                                                                               payment

                   Wells Fargo Hm Mortgag                                      $         4,449.32

                                                                                                     Copy                                       Repeat this amount
                                    9b. Total average monthly payment          $         4,449.32    here=>        -$               4,449.32 on line 33a.

            9c. Net mortgage or rent expense.

                   Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                   or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $            0.00


    10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects
        the calculation of your monthly expenses, fill in any additional amount you claim.                                                      $             0.00

             Explain why:




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                 page 2
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                       Desc Main
                                                                     Document      Page 53 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                               Case number (if known)


    11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

               0. Go to line 14.

               1. Go to line 12.

               2 or more. Go to line 12.
    12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
        operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                               $                0.00
    13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
        You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
        more than two vehicles.
     Vehicle 1         Describe Vehicle 1:

    13a. Ownership or leasing costs using IRS Local Standard..................................................        $             0.00
    13b. Average monthly payment for all debts secured by Vehicle 1.
            Do not include costs for leased vehicles.

            To calculate the average monthly payment here and on line 13e, add all amounts that
            are contractually due to each secured creditor in the 60 months after you file for
            bankruptcy. Then divide by 60.


                 Name of each creditor for Vehicle 1                              Average monthly
                                                                                  payment
                                                                                  $
                                                                                                                                                   Repeat this
                                                                                                                 Copy                              amount on
                                         Total Average Monthly Payment            $                              here =>       -$          0.00    line 33b.


    13c. Net Vehicle 1 ownership or lease expense                                                                                             Copy net
                                                                                                                                              Vehicle 1
            Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                  expense here
                                                                                                                      $             0.00      =>              $            0.00

     Vehicle 2         Describe Vehicle 2:
    13d. Ownership or leasing costs using IRS Local Standard..................................................        $             0.00
    13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
         leased vehicles.

                 Name of each creditor for Vehicle 2                              Average monthly
                                                                                  payment

                                                                                  $

                                                                                                                 Copy                          Repeat this
                                                                                                                 here                          amount on line
                                         Total Average Monthly Payment            $                                                    0.00    33c.
                                                                                                                 =>       -$

    13f. Net Vehicle 2 ownership or lease expense                                                                                             Copy net
                                                                                                                                              Vehicle 2
            Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                expense here
                                                                                                                      $             0.00      =>              $            0.00

    14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
        Public Transportation expense allowance regardless of whether you use public transportation.                                                      $             185.00
    15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
        also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
        not claim more than the IRS Local Standard for Public Transportation.                                                                             $                0.00




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                              page 3
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                        Desc Main
                                                                     Document      Page 54 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                        Case number (if known)



    Other Necessary Expenses                In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                            the following IRS categories.
    16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
        self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld
        from your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by
        12 and subtract that number from the total monthly amount that is withheld to pay for taxes.
        Do not include real estate, sales, or use taxes.                                                                                $            0.00
    17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
        contributions, union dues, and uniform costs.
        Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.            $            0.00
    18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
        filing together, include payments that you make for your spouse's term life insurance.
        Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
        of life insurance other than term.                                                                                              $            0.00
    19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
        administrative agency, such as spousal or child support payments.
        Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.       $            0.00
    20. Education: The total monthly amount that you pay for education that is either required:
               as a condition for your job, or
               for your physically or mentally challenged dependent child if no public education is available for similar services.     $            0.00
    21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and
        preschool.
        Do not include payments for any elementary or secondary school education.                                                       $            0.00
    22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
        that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
        by a health savings account. Include only the amount that is more than the total entered in line 7.
        Payments for health insurance or health savings accounts should be listed only in line 25.                                      $            0.00
    23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication
        services for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or
        business cell phone service, to the extent necessary for your health and welfare or that of your dependents or for the
        production of income, if it is not reimbursed by your employer.
        Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
        expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                     +$            0.00

    24. Add all of the expenses allowed under the IRS expense allowances.                                                              $     1,315.00
        Add lines 6 through 23.
    Additional Expense Deductions                 These are additional deductions allowed by the Means Test.
                                                  Note: Do not include any expense allowances listed in lines 6-24.
    25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
        insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
        your dependents.
            Health insurance                                              $           0.00
            Disability insurance                                          $           0.00
            Health savings account                                       +$           0.00

            Total                                                          $           0.00      Copy total here=>                     $             0.00


            Do you actually spend this total amount?
                    No. How much do you actually spend?
                    Yes                                                       $                   0
    26. Continued contributions to the care of household or family members. The actual monthly expenses that you will
        continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member
        of your household or member of your immediate family who is unable to pay for such expenses. These expenses
        may include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                        $            0.00
    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
        safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
            By law, the court must keep the nature of these expenses confidential.                                                      $            0.00

Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                        page 4
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1            Filed 01/26/16 Entered 01/26/16 15:28:42                                    Desc Main
                                                                      Document      Page 55 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                                 Case number (if known)

    28. Additional home energy costs. Your home energy costs are included in your non-mortgage housing and utilities
        allowance on line 8.
            If you believe that you have home energy costs that are more than the home energy costs included in expenses on
            line 8, then fill in the excess amount of home energy costs
            You must give your case trustee documentation of your actual expenses, and you must show that the additional
            amount claimed is reasonable and necessary.                                                                                                $             0.00
    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
        $156.25* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
        public elementary or secondary school.
            You must give your case trustee documentation of your actual expenses, and you must explain why the amount
            claimed is reasonable and necessary and not already accounted for in lines 6-23.
            * Subject to adjustment on 4/01/16, and every 3 years after that for cases begun on or after the date of adjustment.                       $             0.00
    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
        higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
        than 5% of the food and clothing allowances in the IRS National Standards.
            To find a chart showing the maximum additional allowance, go online using the link specified in the separate
            instructions for this form. This chart may also be available at the bankruptcy clerk's office.
            You must show that the additional amount claimed is reasonable and necessary.                                                              $             0.00
    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
        instruments to a religious or charitable organization. 11 U.S.C. § 548(d)3 and (4).
            Do not include any amount more than 15% of your gross monthly income.                                                                      $             0.00

    32. Add all of the additional expense deductions                                                                                                   $         0.00
        Add lines 25 through 31.

    Deductions for Debt Payment
    33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
        loans, and other secured debt, fill in lines 33a through 33e.
          To calculate the total average monthly payment, add all amounts that are contractually due to each secured
          creditor in the 60 months after you file for bankruptcy. Then divide by 60.
              Mortgages on your home                                                                                                               Average monthly
                                                                                                                                                   payment
    33a.      Copy line 9b here                                                                                                               =>   $       4,449.32
              Loans on your first two vehicles
    33b.      Copy line 13b here                                                                                                              =>   $            0.00
    33c.      Copy line 13e here                                                                                                              =>   $            0.00
    33d.      List other secured debts:
    Name of each creditor for other secured debt                     Identify property that secures the debt                     Does payment
                                                                                                                                 include taxes
                                                                                                                                 or insurance?
                                                                                                                                        No
             -NONE-                                                                                                                     Yes        $

                                                                                                                                        No
                                                                                                                                        Yes        $

                                                                                                                                        No
                                                                                                                                        Yes   +    $


                                                                                                                                              Copy
                                                                                                                                              total
    33e      Total average monthly payment. Add lines 33a through 33d                                              $           4,449.32       here=>   $    4,449.32




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                       page 5
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
              Case 16-11312-KCF                               Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                          Desc Main
                                                                             Document      Page 56 of 69
 Debtor 1      Christine B Sheehan
 Debtor 2      Rafael C Agliata                                                                                         Case number (if known)

    34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
        or other property necessary for your support or the support of your dependents?

               No. Go to line 35.
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.
     Name of the creditor                                       Identify property that secures the debt                      Total cure amount                  Monthly cure
                                                                                                                                                                amount
     -NONE-                                                                                                              $                              ÷ 60 = $

                                                                                                                                                           Copy
                                                                                                                                                           total
                                                                                                                   Total $                       0.00      here=>      $            0.00

    35. Do you owe any priority claims - such as a priority tax, child support, or alimony -
        that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.
               No.      Go to line 36.
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.
                          Total amount of all past-due priority claims                                                       $             3,985.00        ÷ 60        $           66.42
    36. Projected monthly Chapter 13 plan payment                                                                            $
        Current multiplier for your district as stated on the list issued by the Administrative
        Office of the United States Courts (for districts in Alabama and North Carolina) or by
        the Executive Office for United States Trustees (for all other districts).                                           X
        To find a list of district multipliers that includes your district, go online using the link specified in the
        separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                         Copy total
        Average monthly administrative expense                                                                                   $                       here=> $



    37. Add all of the deductions for debt payment.                                                                                                                 $       4,515.74
        Add lines 33e through 36.

    Total Deductions from Income
    38. Add all of the allowed deductions.
            Copy line 24, All of the expenses allowed under IRS
            expense allowances                                                                      $         1,315.00
            Copy line 32, All of the additional expense deductions                                  $               0.00
            Copy line 37, All of the deductions for debt payment                                   +$         4,515.74


            Total deductions....................................................................    $         5,830.74               Copy total here=>             $           5,830.74




Official Form 122C-2                                                Chapter 13 Calculation of Your Disposable Income                                                              page 6
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                                Desc Main
                                                                     Document      Page 57 of 69
 Debtor 1    Christine B Sheehan
 Debtor 2    Rafael C Agliata                                                                          Case number (if known)



 Part 2:        Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

    39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
        Statement of Your Current Monthly Income and Calculation of Commitment Period.                                                $                  6,000.00
    40. Fill in any reasonably necessary income you receive for support for dependent
        children. The monthly average of any child support payments, foster care payments, or
        disability payments for a dependent child, reported in Part I of Form 122C-1, that you
        received in accordance with applicable nonbankruptcy law to the extent reasonably
        necessary to be expended for such child.                                                                 $                 0.00
    41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
        employer withheld from wages as contributions for qualified retirement plans, as specified
        in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
        specified in 11 U.S.C. § 362(b)(19).                                                                     $                 0.00
    42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here                =>      $            5,830.74
    43. Deduction for special circumstances. If special circumstances justify additional
        expenses and you have no reasonable alternative, describe the special circumstances and
        their expenses. You must give your case trustee a detailed explanation of the special
        circumstances and documentation for the expenses.

    Describe the special circumstances                                                    Amount of expense

                                                                                      $

                                                                                      $

                                                                                      $

                                                                                                                Copy
                                                                            Total $               0.00          here=> $                  0.00


                                                                                                                                     Copy
    44. Total adjustments. Add lines 40 through 43.                                               =>        $          5,830.74      here=> -$           5,830.74


    45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                       $              169.26


 Part 3:        Change in Income or Expenses

    46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
        have changed or are virtually certain to change after the date you filed your bankruptcy petition and during
        the time your case will be open, fill in the information below. For example, if the wages reported increased
        after you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why
        the wages increased, fill in when the increase occurred, and fill in the amount of the increase.

    Form             Line           Reason for change                                      Date of change            Increase or      Amount of change
                                                                                                                     decrease?
       122C-1                                                                                                           Increase
       122C-2                                                                                                           Decrease      $
       122C-1                                                                                                           Increase
       122C-2                                                                                                           Decrease      $
       122C-1                                                                                                           Increase
       122C-2                                                                                                           Decrease      $
       122C-1                                                                                                           Increase
       122C-2                                                                                                           Decrease      $




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                page 7
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
             Case 16-11312-KCF                        Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                     Desc Main
                                                                     Document      Page 58 of 69
 Debtor 1     Christine B Sheehan
 Debtor 2     Rafael C Agliata                                                                     Case number (if known)




 Part 4:        Sign Below



            By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


       X /s/ Christine B Sheehan                                                     X /s/ Rafael C Agliata
             Christine B Sheehan                                                        Rafael C Agliata
             Signature of Debtor 1                                                      Signature of Debtor 2
    Date January 26, 2016                                                         Date January 26, 2016
         MM / DD / YYYY                                                                MM / DD / YYYY




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                        page 8
Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42            Desc Main
                                                                     Document      Page 59 of 69

Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:        Liquidation
 This notice is for you if:
                                                                                                  $245   filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335   total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                 Desc Main
                                                                     Document      Page 60 of 69


        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property, you
 You must file Chapter 7 Statement of Your Current                                        must list it on Schedule C: The Property You Claim as
 Monthly Income (Official Form 122A–1) if you are an                                      Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +          $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                Desc Main
                                                                     Document      Page 61 of 69
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file. Only
             an attorney can give you legal advice about what can happen as a result of filing for bankruptcy and
             what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms properly
             and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that many
             people find it difficult to represent themselves successfully. The rules are technical, and a mistake or
             inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan to
 Chapter 12: Repayment plan for family                                                    repay your creditors all or part of the money that you
             farmers or fishermen                                                         owe them, usually using your future earnings. If the
                                                                                          court approves your plan, the court will allow you to
                                                                                          repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75         administrative fee                                        factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235 filing fee                                                               debts for fraud or defalcation while acting in a
 +                  $75 administrative fee                                                       fiduciary capacity,
                   $310 total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge some                                        bankruptcy papers,
 debts that are not paid. You are eligible for chapter 13
 only if your debts are not more than certain dollar                                             certain debts for acts that caused death or
 amounts set forth in 11 U.S.C. § 109.                                                           personal injury, and

                                                                                                 certain long-term secured debts.



Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                Desc Main
                                                                     Document      Page 62 of 69
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint case,
 s.html#procedure.                                                                        both spouses must receive the briefing. With limited
                                                                                          exceptions, you must receive it within the 180 days
                                                                                          before you file your bankruptcy petition. This briefing is
 Bankruptcy crimes have serious consequences                                              usually conducted by telephone or on the Internet.

        If you knowingly and fraudulently conceal assets                                  In addition, after filing a bankruptcy case, you generally
        or make a false oath or statement under penalty of                                must complete a financial management instructional
        perjury—either orally or in writing—in connection                                 course before you can receive a discharge. If you are
        with a bankruptcy case, you may be fined,                                         filing a joint case, both spouses must complete the
        imprisoned, or both.                                                              course.

        All information you supply in connection with a                                   You can obtain the list of agencies approved to provide
        bankruptcy case is subject to examination by the                                  both the briefing and the instructional course from:
        Attorney General acting through the Office of the                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
        U.S. Trustee, the Office of the U.S. Attorney, and
        other offices and employees of the U.S.                                           In Alabama and North Carolina, go to:
        Department of Justice.                                                            http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 Make sure the court has your mailing address                                             AndDebtCounselors.aspx.

 The bankruptcy court sends notices to the mailing                                        If you do not have access to a computer, the clerk of
 address you list on Voluntary Petition for Individuals                                   the bankruptcy court may be able to help you obtain the
 Filing for Bankruptcy (Official Form 101). To ensure that                                list.
 you receive information about your case, Bankruptcy
 Rule 4002 requires that you notify the court of any
 changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4

Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42                     Desc Main
                                                                     Document      Page 63 of 69
B2030 (Form 2030) (12/15)
                                                              United States Bankruptcy Court
                                                                        District of New Jersey
             Christine B Sheehan
 In re       Rafael C Agliata                                                                                 Case No.
                                                                                 Debtor(s)                    Chapter       13

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  3,500.00
             Prior to the filing of this statement I have received                                        $                  2,000.00
             Balance Due                                                                                  $                  1,500.00

2.     The source of the compensation paid to me was:
                  Debtor                 Other (specify):

3.     The source of compensation to be paid to me is:
                  Debtor                 Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Pursuant to written retainer agreement
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     January 26, 2016                                                            /s/ Scott E. Kaplan, Esquire
     Date                                                                        Scott E. Kaplan, Esquire
                                                                                 Signature of Attorney
                                                                                 Law Offices of Scott E. Kaplan, LLC
                                                                                 12 N. Main Street, P.O. Box 157
                                                                                 Allentown, NJ 08501
                                                                                 609-259-1112 Fax: 609-259-5600
                                                                                 scott@sekaplanlaw.com
                                                                                 Name of law firm




Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
            Case 16-11312-KCF                         Doc 1           Filed 01/26/16 Entered 01/26/16 15:28:42     Desc Main
                                                                     Document      Page 64 of 69




                                                              United States Bankruptcy Court
                                                                        District of New Jersey
            Christine B Sheehan
 In re      Rafael C Agliata                                                                       Case No.
                                                                                   Debtor(s)       Chapter    13




                                              VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: January 26, 2016                                                 /s/ Christine B Sheehan
                                                                        Christine B Sheehan
                                                                        Signature of Debtor

 Date: January 26, 2016                                                 /s/ Rafael C Agliata
                                                                        Rafael C Agliata
                                                                        Signature of Debtor




Software Copyright (c) 1996-2015 Best Case, LLC - www.bestcase.com                                                        Best Case Bankruptcy
    Case 16-11312-KCF   Doc 1    Filed 01/26/16 Entered 01/26/16 15:28:42   Desc Main
                                Document      Page 65 of 69

}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                        328 S. Broad Street, LLC



                        328 South Broad Street, LLC
                        44 Martin Lane
                        Hamilton, NJ 08619


                        330 S. Broad Street, LLC



                        336 S. Broad Street, LLC



                        43 Bushler, LLC
                        428 Clifton Ave #96
                        Lakewood, NJ 08701


                        43 Bushler, LLC
                        428 Clifton Ave #96
                        Lakewood, NJ 08701


                        43 Bushler, LLC
                        428 Clifton Ave #96
                        Lakewood, NJ 08701


                        American Surety
                        250 East 96th Street, suite 202
                        Indianapolis, IN 46240


                        Antonio Agliata
                        330 South Broad Street, Apt 3
                        Trenton, NJ 08608


                        ARS National Services, Inc
                        P.O. Box 463023
                        Escondido, CA 92046-3023


                        Bankers Surety
                        PO Box 33015
                        Saint Petersburg, FL 33733


                        Bartolomei Pucciarelli, LLC
                        2564 Brunswick Pike
                        Lawrenceville, NJ 08648
Case 16-11312-KCF   Doc 1    Filed 01/26/16 Entered 01/26/16 15:28:42   Desc Main
                            Document      Page 66 of 69


                    Bartolomei Pucciarelli, LLC
                    2564 Brunswick Pike
                    Lawrenceville, NJ 08648


                    Better Deal Bail Bonds
                    1205 E. Grand Street
                    Elizabeth, NJ 07201


                    Citicards
                    Po Box 6241
                    Sioux Falls, SD 57117


                    Cutting Edge Bail Bonds
                    1403 N. Washington Ave
                    Scranton, PA 18509


                    Discover Fin Svcs Llc
                    Po Box 15316
                    Wilmington, DE 19850


                    Division Of Taxation
                    PO Box 190
                    Trenton, NJ 08646


                    Eastern Region/Collegiate
                    National Credit System
                    3750 Naturally Fresh Blv
                    Atlanta, GA 30349


                    Eric Valentin
                    426 State Street
                    Perth Amboy, NJ 08861


                    Eric Valentin
                    426 State Street
                    Perth Amboy, NJ 08861


                    F.H. Cann & Assoc, Inc
                    1600 Osgood St, Ste 20-2/120
                    North Andover, MA 01845


                    Fed Loan Serv
                    Pob 60610
                    Harrisburg, PA 17106
Case 16-11312-KCF   Doc 1    Filed 01/26/16 Entered 01/26/16 15:28:42   Desc Main
                            Document      Page 67 of 69


                    Fed Loan Serv
                    Pob 60610
                    Harrisburg, PA 17106


                    Financial Casualty And Surety
                    3131 Eastside #600
                    Houston, TX 77098


                    First Data
                    265 Broad Hollow R
                    Melville, NY 11747


                    Forster Garbus & Garbus
                    7 Banta Place
                    Hackensack, NJ 07601


                    Gary Williams
                    Williams National Surety Corp
                    823 W. 4th Street
                    Davenport, IA 52802


                    JPMorgan Chase Bank,N.A.
                    P.O. Box 29505
                    Phoenix, AZ 85038-9505


                    National Credit Systms, Inc
                    P.O. Box 312125
                    Atlanta, GA 31131-2125


                    NJ Division Of Taxation
                    PO Box 190
                    Trenton, NJ 08646


                    NJ Division Of Taxation
                    PO Box 190
                    Trenton, NJ 08646


                    Optimum
                    C/O Sunrise Credit Services, Inc
                    P.O. Box 9100
                    Farmingdale, NY 11735-9100


                    Phelan Hallinan Diamond & Jones, P.C.
                    400 Fellowship Road, Ste 100
                    Mt. Laurel, NJ
Case 16-11312-KCF   Doc 1    Filed 01/26/16 Entered 01/26/16 15:28:42   Desc Main
                            Document      Page 68 of 69


                    PNC Bank Na
                    P.O. Box 3180
                    Pittsburgh, PA 15230


                    Raymore & Flanigan
                    7248 Morgan Rd
                    Liverpool, NY 13088


                    RWJ Hamilton Ctr For Health & Wellness
                    3100 Quakerbridge Rd
                    Trenton, NJ 08619


                    Safety National Casualty Corp
                    1832 Schuetz Road
                    St. Louis, MO 63146


                    Safety National Casualty Corporation
                    1832 Scheutz Rd
                    Saint Louis, MO 63146


                    Santander Bank
                    C/O F.H. Cann & Associates, Inc
                    1600 Osgood St, Ste 20-2/120
                    North Andover, MA 01845


                    SRA Associates, Inc
                    401 Minnetonka Road
                    Hi Nella, NJ 08083


                    Toyota Financial Services
                    P.O. Box 9490
                    Cedar Rapids, IA 52409-9490


                    Transworld Systems Inc
                    507 Prudential Road
                    Horsham, PA 19044


                    Transworld Systems Inc
                    507 Prudential Road
                    Horsham, PA 19044


                    United Surety Group
                    16 Court Street
                    Freehold, NJ 07728
Case 16-11312-KCF   Doc 1    Filed 01/26/16 Entered 01/26/16 15:28:42   Desc Main
                            Document      Page 69 of 69


                    Wells Fargo Hm Mortgag
                    8480 Stagecoach Cir
                    Frederick, MD 21701


                    Williams National Surety Corp.
                    823 W. 4th Street
                    Davenport, IA 52802


                    Wong Fleming
                    2000 RiverEdge Parkway, Ste 500
                    Atlanta, GA 30328
